CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             1 of 1
                                                                  14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             2 of 2
                                                                  14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             3 of 3
                                                                  14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             4 of 4
                                                                  14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             5 of 5
                                                                  14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             6 of 6
                                                                  14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             7 of 7
                                                                  14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             8 of 8
                                                                  14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             9 of 9
                                                                  14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             10 of10
                                                                   14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             11 of11
                                                                   14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             12 of12
                                                                   14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             13 of13
                                                                   14of 14
CaseCase
     3:05-bk-03817-JAF   Document
         3:05-bk-03817-JAF        14815 Filed
                            Doc 14893-2  Filed01/26/07
                                               01/19/2007
                                                        PagePage
                                                             14 of14
                                                                   14of 14
